          Case 3:17-cv-00101-RDM Document 108 Filed 10/29/18 Page 1 of 1

1700 G Street NW,
Washington, DC 20552

October 29, 2018

Filed Via ECF

The Honorable Robert D. Mariani
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:     CFPB v. Navient Corp., et al., Case No. 3:17-CV-00101-RDM

Dear Judge Mariani:

       I write on behalf of the Bureau concerning the letter filed by Defendants on October 10,
2018 (Doc. 107), which was just over seven pages, single-spaced.

        The Bureau seeks leave to file a letter of six pages, which the Bureau has drafted in response
to Defendants’ letter. The Bureau endeavored to be as concise as possible – mindful of the Court’s
indication that letters concerning discovery issues should be brief (Doc. 53, at 24:10-14; Transcript
of 4/17/2018 hearing, at 3:10-11, 11:23-25). However, because of the number of arguments made in
Defendants’ letter, a letter of comparable length was necessary to adequately respond.

        Accordingly, if the Court accepts Defendants’ letter as a valid submission, the Bureau
respectfully requests permission to file a six-page letter in response.

                                                       Respectfully submitted,
                                                       /s/ Nicholas Jabbour
